              Case:20-16743-KHT Doc#:1 Filed:10/13/20                                  Entered:10/13/20 12:01:42 Page1 of 9


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                MAS Corp

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6300 East Hampden Ave
                                  Suite 1212
                                  Denver, CO 80222
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Denver                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
               Case:20-16743-KHT Doc#:1 Filed:10/13/20                                      Entered:10/13/20 12:01:42 Page2 of 9
Debtor    MAS Corp                                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2152

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Zachary Muth                                                   Relationship            Partner
                                                  District   Colorado                     When       8/08/20                Case number, if known   20-15363


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
             Case:20-16743-KHT Doc#:1 Filed:10/13/20                  Entered:10/13/20 12:01:42 Page3 of 9
Debtor   MAS Corp                                                             Case number (if known)
         Name




Official Form 201            Voluntary Petition for Non-Individuals Filing for Bankruptcy                    page 3
             Case:20-16743-KHT Doc#:1 Filed:10/13/20                                     Entered:10/13/20 12:01:42 Page4 of 9
Debtor   MAS Corp                                                                                  Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
              Case:20-16743-KHT Doc#:1 Filed:10/13/20                                    Entered:10/13/20 12:01:42 Page5 of 9
Debtor    MAS Corp                                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 13, 2020
                                                  MM / DD / YYYY


                             X   /s/ Steven Muth                                                          Steven Muth
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Aaron A. Garber                                                       Date October 13, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Aaron A. Garber 36099
                                 Printed name

                                 Wadsworth Garber Warner Conrardy, P.C.
                                 Firm name

                                 2580 West Main Street
                                 Suite 200
                                 Littleton, CO 80120
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303-296-1999                  Email address      agarber@wgwc-law.com

                                 36099 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case:20-16743-KHT Doc#:1 Filed:10/13/20                                           Entered:10/13/20 12:01:42 Page6 of 9


 Fill in this information to identify the case:
 Debtor name MAS Corp
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Appliance Factory                                                                                                                                                          $2,000.00
 Outlet
 321 W. 84th Ave #1
 Thornton, CO 80260
 AT&T                                                                                   Disputed                                                                            $2,000.00
 PO Box 5001
 Carol Stream, IL
 60197-5001
 Bobcat of the                                                                                                                                                              $2,280.00
 Rockies
 4630 Oakland St.,
 #500
 Denver, CO 80239
 Brannan Sand and                                                                                                                                                           $3,000.00
 Gravel
 2500 Branna Way
 Denver, CO 80229
 Capital One                                                     Credit Cards                                                                                               $1,100.00
 P.O. Box 30285
 Salt Lake City, UT
 84130
 Colorado                                                                                                                                                                   $1,500.00
 Department Of
 Revenue
 Tax Audit
 Compliance Div.
 1375 Sherman St
 Denver, CO
 80203-2246
 Comcast                                                                                                                                                                      $500.00
 1701 JFK Boulevard
 Philadelphia, PA
 19103
 Denver Lumber                                                                                                                                                              $5,200.00
 1490 S. Cherokee
 Street
 Denver, CO 80223


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                 Case:20-16743-KHT Doc#:1 Filed:10/13/20                                           Entered:10/13/20 12:01:42 Page7 of 9



 Debtor    MAS Corp                                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Erick Arriola Law                                                                      Disputed                                                                            $7,000.00
 9800 Mt. Pyramid
 Court
 Suite 400 #4058
 Englewood, CO
 80112
 Ford Credit                                                     For Fusion                                          $15,500.00                  $1,000.00                $14,500.00
 9930 Federal Drive                                              (totaled)
 Colorado Springs,
 CO 80921
 Ford Credit                                                     2019 Ford Van                                       $22,446.00                 $18,000.00                  $4,446.00
 9930 Federal Drive
 Colorado Springs,
 CO 80921
 Home Advisor                                                                           Disputed                                                                              $500.00
 14023 Denver W.
 Pkwy #200
 Golden, CO 80401
 INTERNAL                                                                                                                                                                   $2,000.00
 REVENUE SERVICE
 P.O. BOX 7704
 San Francisco, CA
 94120
 Pioneer Sand and                                                                                                                                                             $850.00
 Gravel
 8189 W. Brandon
 Drive
 10018535, CO 80125
 Steven Muth                                                     Unpaid wages,                                                                                                    $0.00
                                                                 commissions, or
                                                                 salaries
 T-Mobile                                                                               Disputed                                                                            $1,500.00
 PO Box 53410
 Bellevue, WA 98015
 Toyota Financial                                                2017 WRX                                            $26,000.00                 $22,000.00                  $4,000.00
 Services
 P.O. Box 15012
 Chandler, MA
 01164-7501
 Toyota Financial                                                deficiency on          Disputed                                                                          $30,000.00
 Services                                                        repossed Tundra
 P.O. Box 15012
 Chandler, MA
 01164-7501
 Wells Fargo Bank                                                Credit Cards                                                                                               $6,000.00
 420 Mongomery
 Street
 San Francisco, CA
 94107




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                 Case:20-16743-KHT Doc#:1 Filed:10/13/20                                           Entered:10/13/20 12:01:42 Page8 of 9



 Debtor    MAS Corp                                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Xcel Energy                                                     Utility Bills          Disputed                                                                            $4,717.00
 PO Box 9477
 Minneapolis, MN
 55484-9477




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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            Case:20-16743-KHT Doc#:1 Filed:10/13/20                                    Entered:10/13/20 12:01:42 Page9 of 9




                                                               United States Bankruptcy Court
                                                                      District of Colorado
 In re      MAS Corp                                                                                Case No.
                                                                                Debtor(s)           Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       October 13, 2020                                        /s/ Steven Muth
                                                                     Steven Muth/President
                                                                     Signer/Title




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